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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO

Chris Martin,                                      Case No. 1:23-cv-02312

         Plaintiff,                                Judge Charles Esque Fleming

         v.
                                                   STIPULATED TEMPORARY
Cleveland City Council and Cleveland               RESTRAINING ORDER
City Council President Blaine Griffin
(in his official and individual capacities),

         Defendants.


         Pursuant to this Court’s December 21, 2023 Order, Plaintiff Chris Martin and

Defendants Cleveland City Council and Cleveland City Council President Blaine Griffin

agree to the following temporary restraining order.

         It is hereby ORDERED that, pending further direction from the Court,

Defendants and all their respective officers, agents, servants, employees, attorneys and

persons acting in concert or participation with them are:

   1. Enjoined and restrained from enforcing the Procedures for Public Comment at

       Cleveland City Council Meetings (approved by Cleveland City Council on

       September 20, 2021) (Exhibit 2 to the Complaint) except the following:

           a. Preregistration requirement as described in the Procedures for Public

              Comment at Cleveland City Council Meetings under the bullet-point with

              the heading “ALL SPEAKERS MUST PRE-REGISTER”;

           b. No more than ten (10) speakers shall speak at any meeting;

           c. Each speaker may speak for no longer than three (3) minutes.

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This temporary restraining order will be effective beginning on January 8, and will

remain in effect until the Court rules on Plaintiff’s motion for a preliminary injunction.

Defendants shall make reasonable efforts to actively share these changes to the public

comment procedures with the public.

       The Court sets the following briefing schedule on Plaintiff’s motion for a

preliminary injunction:

              January 16, 2024 - Defendants’ Opposition

              January 23, 2024 - Plaintiff’s Reply

       The parties agree that the telephonic status conference set for January 8, 2024 at

11:30 am is not necessary. Defendants submit that there may not be disputed facts that

would require a hearing; without having seen Defendants’ Opposition, Plaintiff

maintains there may be disputed facts and continues to request a hearing on the

motion, and would request that hearing be scheduled prior to February 23, 2024. The

parties shall file a joint status report on or before January 24, 2024 with proposed dates

for a hearing, or, alternatively, notifying the Court that a hearing is not necessary.

       This Court has exercised its discretion that no bond shall be required.



Dated: January 5, 2024      Signed:________________________________________




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Presented on January 5, 2024 by:

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